      Case:18-10130-SDB Doc#:11 Filed:02/02/18 Entered:02/03/18 00:58:07                       Page:1 of 5
                                      United States Bankruptcy Court
                                      Southern District of Georgia
In re:                                                                                 Case No. 18-10130-SDB
Diane Mance Bussey                                                                     Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113J-1          User: ccburke                Page 1 of 2                   Date Rcvd: Jan 31, 2018
                              Form ID: 309I                Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 02, 2018.
db             +Diane Mance Bussey,    827 Francis Drive,    Thomson, GA 30824-7606
7059490        +Anthony’s Auto Sales,    1214 Washington Road,    Thomson GA 30824-7324
7059497        +Covington Credit-GA 07,    752 Broad Street,    Augusta GA 30901-1306
7059498        +David W. Perry, DMD,    231 Davis Road,   Augusta GA 30907-2407
7059500        +Drs. Jopling & Brunson,    115 Gordon Street,    Thomson GA 30824-1537
7059501        +Equity Auto Loans Ll (TitleMax),    15 Bull Street Suite 200,    Savannah GA 31401-2686
7059503        +Figis Co Inc,   Po Box 7713,    Marshfield WI 54449-7713
7059506        +Hughes Furniture,    124 Jackson Street,   Thomson GA 30824-2017
7059508         McDuffie Regional Medical,    521 Hill Street NW,    Thomson GA 30824
7059507        +Mcb,   955 Greene St,    Augusta GA 30901-2231
7059515        +University Hospital,    1350 Walton Way,   Augusta GA 30901-2629

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: wardspires@aol.com Jan 31 2018 18:52:31        Dempsey Clay Ward,    Ward & Spires,
                 P O Box 1493,    Augusta, GA 30903
tr             +E-mail/Text: 341notices@chp13aug.org Jan 31 2018 18:52:52        Huon Le,    P.O. Box 2127,
                 Augusta, GA 30903-2127
ust            +E-mail/Text: ustpregion21.sv.ecf@usdoj.gov Jan 31 2018 18:53:07        Office of the U. S. Trustee,
                 Johnson Square Business Center,    2 East Bryan Street, Ste 725,     Savannah, GA 31401-2638
7059492         EDI: ATTWIREBK.COM Jan 31 2018 18:43:00       AT&T,   PO Box 105503,    Atlanta GA 30348-5503
7059489        +E-mail/Text: BANKRUPTCY@LANIERCOLLECTIONS.COM Jan 31 2018 18:53:41
                 Anesthesia & Pain Med Assoc,    c/o LCA,    POI Box 15519,    Savannah GA 31416-2219
7059491        +EDI: CBS7AVE Jan 31 2018 18:43:00      Ashro,    1112 7th Ave,    Monroe WI 53566-1364
7059493        +EDI: ATLASACQU.COM Jan 31 2018 18:43:00       Atlas Acquisitions,    294 Union Street,
                 Hackensack NJ 07601-4303
7059494         E-mail/Text: bankruptcies@mcbs.com Jan 31 2018 18:53:45        Brown and Radiology Associates,
                 PO Box 3845,   Augusta GA 30914-3845
7059495        +E-mail/Text: flr_bankruptcynotice@cable.comcast.com Jan 31 2018 18:53:42         Comcast,
                 105 Rivershoals Parkway,    Augusta GA 30909-0235
7059496        +EDI: WFNNB.COM Jan 31 2018 18:43:00       Comenity Bank/goodys,    Attn: Bankruptcy,
                 Po Box 182125,    Columbus OH 43218-2125
7059499         E-mail/Text: bankruptcy.bnc@ditech.com Jan 31 2018 18:52:52        Ditech Financial LLC,
                 PO Box 6172,   Rapid City SD 57709-6172
7059502         E-mail/Text: corporatecredit@farmersfurniture.com Jan 31 2018 18:53:16         Farmers Furniture,
                 Attn: Bankruptcy Department,    Po Box 1140,    Dublin GA 31040
7059504        +EDI: BLUESTEM Jan 31 2018 18:43:00      Fingerhut,    Bankruptcy Dept,     6250 Ridgewood Rd,
                 Saint Cloud MN 56303-0820
7059509        +EDI: SECFIN.COM Jan 31 2018 18:43:00       Security Fin,    C/O Security Finance,    PO Box 3146,
                 Spartanburg SC 29304-3146
7059510        +E-mail/Text: wmcbkdept@waltersmgmt.com Jan 31 2018 18:53:49        Service Loan Company,
                 Po Box 2935,   Gainesville GA 30503-2935
7059511        +EDI: CBS7AVE Jan 31 2018 18:43:00      Seventh Avenue,    Seventh Avenue,     1112 7th Ave,
                 Monroe WI 53566-1364
7059512        +EDI: CHECKNGO.COM Jan 31 2018 18:43:00       Southern Specialty Finance/Check N Go,
                 dba Check N’ Go,    348 E. Martintown Road,    North Augusta SC 29841-5808
7059513         Fax: 912-629-1539 Jan 31 2018 19:33:08       Title Max of Augusta,    1001 Washington Road,
                 Thomson GA 30824-7318
7059514        +E-mail/Text: bankruptcy@unitedacceptance.com Jan 31 2018 18:53:19         United Acceptance Inc,
                 2400 Lake Park Dr,    Smyrna GA 30080-8993
                                                                                                TOTAL: 19

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7059505       ##Hickory Hill Emerg Physicians,   PO Box 37767,   Philadelphia PA 19101-5067
                                                                                              TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.    Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
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District/off: 113J-1                  User: ccburke                      Page 2 of 2                          Date Rcvd: Jan 31, 2018
                                      Form ID: 309I                      Total Noticed: 30


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 02, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 31, 2018 at the address(es) listed below:
              Dempsey Clay Ward   on behalf of Debtor Diane Mance Bussey wardspires@aol.com,
               christinakapral@wardandspires.com
              Huon Le    notices@chp13aug.org
              Office of the U. S. Trustee   Ustpregion21.sv.ecf@usdoj.gov
                                                                                             TOTAL: 3
    Case:18-10130-SDB Doc#:11 Filed:02/02/18 Entered:02/03/18 00:58:07                                                                 Page:3 of 5
Information to identify the case:
Debtor 1                 Diane Mance Bussey                                                     Social Security number or ITIN    xxx−xx−9791

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Southern District of Georgia
                                                                                                Date case filed for chapter 13 1/30/18
Case number:          18−10130−SDB



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Diane Mance Bussey

2. All other names used in the
   last 8 years
                                              827 Francis Drive
3. Address                                    Thomson, GA 30824
                                              Dempsey Clay Ward                                             Contact phone 706−724−2640
4. Debtor's  attorney
   Name and address
                                              Ward & Spires
                                              P O Box 1493                                                  Email: wardspires@aol.com
                                              Augusta, GA 30903

5. Bankruptcy trustee                         Huon Le                                                       Contact phone 706−724−1039
     Name and address                         P.O. Box 2127
                                              Augusta, GA 30903

6. Bankruptcy clerk's office                                                                              Hours open Mon−Fri 8:30AM−5:00PM
     Documents in this case may be filed      Federal Justice Center
     at this address.                         600 James Brown Blvd
     You may inspect all records filed in     P.O. Box 1487                                               Contact phone 706−823−6000
     this case at this office or online at    Augusta, GA 30903
      www.pacer.gov.                                                                                      Date: 1/31/18

                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
    Case:18-10130-SDB Doc#:11 Filed:02/02/18 Entered:02/03/18 00:58:07                                                                     Page:4 of 5
Debtor Diane Mance Bussey                                                                                                           Case number 18−10130−SDB

7. Meeting of creditors                                                                                            Location:
   Debtors must attend the meeting to     February 23, 2018 at 03:00 PM                                            Federal Justice Center − Plaza Bldg, 600
   be questioned under oath. In a joint                                                                            James Brown Blvd − 341 Mtg Rm,
   case, both spouses must attend.                                                                                 Augusta, GA 30901
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
                                                          *** Valid photo identification required ***

8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 4/24/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 4/10/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 7/30/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                         A copy of the plan will be sent to you in a separate mailing. The hearing on confirmation will
                                          be held on:3/19/18, at 02:00 PM, Location: Federal Justice Center, Plaza Bldg, 600 James
                                          Brown Blvd (9th St), Augusta, GA 30901
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                    page 2
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Debtor: Diane Mance Bussey                                                                      Case Number: 18−10130−SDB

                                 ADDITIONAL COURT SPECIFIC INFORMATION.


ID Required at         Debtor's photo ID and Social Security Card must be presented at the Meeting of
Meeting of             Creditors.
Creditors


11 USC 521(i)          45 days after the filing of the petition
Automatic
Dismissal
Deadline


Objections to          Objections to Confirmation including Objections to Debtor(s) Motions to Avoid a Lien or
Confirmation           Motions to Value Collateral, must be filed with the Clerk not later than seven (7) days
                       before the hearing to consider confirmation of a plan, unless the Court orders otherwise.
                       Objections shall be timely served on the Trustee, debtor, and debtor's counsel. At
                       confirmation, parties with standing to appear and be heard will be limited to debtors, the
                       Trustee, creditors who timely filed and served an objection, and counsel for any of the
                       above. Objections shall state succinctly, but with particularity, the statutory or case law
                       basis for the objection.


Dismissal or           At the confirmation hearing, the Court will determine whether the debtor's plan can be
Conversion at          confirmed. If confirmation is denied, the Court may, after considering the facts and
Confirmation           circumstances of the case at the confirmation hearing, on its own motion or on motion of
Hearing                any party in interest, dismiss the case, dismiss the case with prejudice, or order that the
                       case be converted to Chapter 7. For cause, the Court may grant such motion at the
                       confirmation hearing without further notice.


Filing a Proof of Creditors are now able to file Proof of Claim forms for all chapters electronically. A
Claim             CM/ECF login/password is not required. Visit the Court's website,
                  www.gasb.uscourts.gov to find the ELECTRONIC CLAIMS link and filing instructions.


Multi−Court            An automated response for further information on this case is available 24 hours daily by
Voice Case             calling the Multi−Court Voice Case Information System (McVCIS) toll free number
Information            1−866−222−8029, selecting your language, and pressing 42, and then 1, to access the
System                 United States Bankruptcy Court for the Southern District of Georgia. Please have the
(McVCIS)               case number, social security number, or debtor name available when calling. In addition,
                       you may also contact the Clerk's Office directly. Please note that McVCIS is NOT the
                       official court record. The official court record continues to be maintained only by the
                       Clerk's Office.


Other
information


                                                                                   For The Court:
                                                                             Lucinda Rauback, CLERK
                                                                             United States Bankruptcy Court
                                                                             Federal Justice Center
                                                                             600 James Brown Blvd
                                                                             P.O. Box 1487
                                                                             Augusta, GA 30903

Dated: 1/31/18
                                                                                                                  Page 3
